                                                                           Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 1 of 10



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                                                                                                       UNITED STATES DISTRICT COURT
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                                                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                           LD et al.,                                     Case No. 4:20-cv-02254-YGR-JCS
                                                                      15
                                                                                         Plaintiffs,                      Hon. Yvonne Gonzalez Rogers
                                                                      16
                                                                                  v.                                      PLAINTIFFS’ RESPONSE TO
                                                                      17                                                  MULTIPLAN, INC.’S NOTICE OF
                                                                           United Behavioral Health Company, et al.,      SUPPLEMENTAL AUTHORITY AND
                                                                      18                                                  WRITTEN REPORT PURSUANT TO
                                                                                         Defendants.                      OCTOBER 3, 2022 ORDER RE MOTION
                                                                      19                                                  TO COMPEL [DKT 239]
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                                                                                                                    PLAINTIFFS’ RESPONSE TO MULTIPLAN, INC.’S NOTICE
                                                                                                                   OF SUPPLEMENTAL AUTHORITY AND WRITTEN REPORT
                                                                                                                    PURSUANT TO OCTOBER 3, 2022 ORDER RE MOTION TO
                                                                             Case No. 4:20-cv-02254-YGR-JCS                                        COMPEL [DKT 239]
                                                                           Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 2 of 10



                                                                       1                                          I. INTRODUCTION
                                                                       2          Plaintiffs file this memorandum in response to Defendant Multiplan, Inc.’s Notice of
                                                                       3   Supplemental Authority and Written Report Pursuant to October 3, 2022 Order re Motion to
                                                                       4   Compel (Dkt. 239) in accordance with the Court’s Order Denying Plaintiff’s Administrative
                                                                       5   Motion and For Response (Dkt. 245). Multiplan, Inc.’s Notice of Supplemental Authority
                                                                       6   pertained to an unpublished district court decision from the Central District of California
                                                                       7   granting summary judgment for Multiplan in an unrelated matter, In re: Out of Network
                                                                       8   Substance Use Disorder Claims Against UnitedHealthCare, Case No. 8:19-cv-02075-
                                                                       9   JVS(DFMx), the court’s October 14, 2022 MINUTES [IN CHAMBERS] Order Regarding
                                                                      10   Motion for Summary Judgment on Plaintiff-Providers’ Claims Against MultiPlan and Viant by
                                                                      11   Judge James V. Selna granting 142 for Summary Judgment Order Regarding Motion for
ARNALL GOLDEN GREGORY LLP




                                                                      12   Summary Judgment on Plaintiff-Providers’ Claims Against MultiPlan and Viant [dkt. 281]
                                                                      13   (hereinafter “In re: OON SUD Claims”). Setting aside the absence of any precedential or
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                                                                      14   persuasive authority of In re: OON SUD Claims, the factual and legal distinctions between In re:
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                                                                      15   OON SUD Claims and the instant action are myriad. In re: OON SUD Claims was brought by
                                                                      16   healthcare providers, whereas the plaintiffs in the instant action are the healthcare plan
                                                                      17   participants and beneficiaries to whom fiduciary duties are actually owed. In re: OON SUD
                                                                      18   Claims did not include a cause of action for breach of fiduciary duty under ERISA (29 U.S.C. §
                                                                      19   1132(a)(3)), while the instant action does. In re: OON SUD Claims involved Multiplan’s
                                                                      20   negotiation services, preferred provider network, and execution of single case agreements for
                                                                      21   negotiated fees with providers on all types of claims, while the instant action is limited to
                                                                      22   Multiplan’s Viant repricing tool as applied to intensive outpatient substance use disorder claims.
                                                                      23   Most importantly, the summary judgment order in In re: OON SUD Claims does not articulate
                                                                      24   the law of the case in this action, wherein the court has found that Plaintiffs have adequately
                                                                      25   pleaded a breach of fiduciary duty action against Multiplan based on its use of its Viant product
                                                                      26   to reprice allowable reimbursement amounts for United plan participants and beneficiaries who
                                                                      27   have received intensive outpatient substance use disorder services.
                                                                                                                            1
                                                                      28
                                                                                                                    PLAINTIFFS’ RESPONSE TO MULTIPLAN, INC.’S NOTICE OF
                                                                                                                        SUPPLEMENTAL AUTHORITY AND WRITTEN REPORT
                                                                                                                      PURSUANT TO OCTOBER 3, 2022 ORDER RE MOTION TO
                                                                             Case No. 4:20-cv-02254-YGR-JCS                                          COMPEL [DKT 239]
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 3 of 10



 1                                            II. RESPONSE
 2   A. Multiplan’s Supplemental Authority is Inapposite and Factually Distinguishable
 3          The recent decision filed by Defendant MultiPlan as supplemental authority, In re: Out of
 4   Network Substance Use Disorder Claims Against UnitedHealthCare, Case No. 8:19-cv-02075-
 5   JVS(DFMx), the court’s October 14, 2022 MINUTES [IN CHAMBERS] Order Regarding
 6   Motion for Summary Judgment on Plaintiff-Providers’ Claims Against MultiPlan and Viant by
 7   Judge James V. Selna granting 142 for Summary Judgment Order Regarding Motion for
 8   Summary Judgment on Plaintiff-Providers’ Claims Against MultiPlan and Viant [dkt. 281], in
 9   addition to having no precedential value and not being a published decision, is factually
10   distinguishable.
11          The In re: Out of Network Substance Use Disorder Claims Against UnitedHealthCare
12   case involves MultiPlan’s negotiation services for single case and global claim agreements and
13   MultiPlan’s preferred provider network. None of the claims at issue in the present litigation
14   involve MultiPlan’s negotiation services or preferred provider network.
15          The two matters are further differentiated by their Plaintiffs. In re: Out of Network
16   Substance Use Disorder Claims Against UnitedHealthCare is brought by healthcare providers
17   whereas the Plaintiffs in this matter are all individual plan members, who are directly owed
18   fiduciary duties.
19          In re: Out of Network Substance Use Disorder Claims Against UnitedHealthCare is
20   further distinguished by the causes of action asserted. Plaintiffs in this matter have brought
21   ERISA claims pursuant to ERISA §§ 502(a)(1)(B) and 502(a)(3) while the providers in the other
22   matter brought their ERISA claims pursuant to ERISA §§ 502(a)(1)(B) alone.
23          Further distinguishing the two matters, the court in In re: Out of Network Substance Use
24   Disorder Claims Against UnitedHealthCare arrived at its decision following summary judgment
25   briefing and basing its decision on facts that were undisputed by the parties. That is not the case
26   in the present matter.
27          Facts that are disputed in this matter that were undisputed and/or are readily
28   distinguishable in include: “After a claim is referred to MPI for negotiation, a claim resolution
                                                       -2-
                                                             Plaintiffs’ Opposition to Defendant MultiPlan Inc.’s
       Case No. 4:20-cv-02254-YGR-JCS                                   Administrative Motion to Redact and Seal
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 4 of 10



 1   specialist contacts the provider and attempts to negotiate a discounted rate . . .” (pg. 14-15) is
 2   significantly different from Plaintiffs’ allegations in the operative, Third Amended Complaint
 3   [dkt. 91] that directly point to fiduciary duties breached by MultiPlan (see, e.g., TAC ¶¶ 181-
 4   219). The court in In re: OON SUD Claims also based its findings on the undisputed fact that
 5   “MultiPlan will obtain a written single case agreement signed by the provider documenting
 6   acceptance of the proposed negotiated amount.” (pg. 5). None of the claims at issue in the
 7   present case involve single case agreements. It was undisputed in In re: OON SUD Claims that
 8   “MultiPlan then discloses the terms of that proposed offer to United, which may choose whether
 9   to accept or reject the proposed negotiated reimbursement amount at its sole discretion.” (pg. 5).
10   In the present case, Plaintiffs have alleged a joint enterprise where both United and MultiPlan
11   have fabricated and implemented a fraudulent reimbursement rate. (see, e.g., TAC ¶¶ 219-
12   236).Further, In re: Out of Network Substance Use Disorder Claims Against UnitedHealthCare
13   involves all levels of care provided to patients as opposed to the present case that deals solely
14   with claims for intensive outpatient treatment (“IOP”). Also, the minute order filed by defendant
15   MultiPlan does not address the breaches of fiduciary duty that were alleged to have been
16   committed by United or any co-scheming or delegation of duties to MultiPlan. In this case,
17   Plaintiffs have incorporated a ‘patient advocacy department’ (“PAD”) letter sent to one of the
18   Plaintiffs with ‘Viant’ on the letterhead, the signature line, and directing them to call Viant for
19   matters of claim reimbursement ((see TAC ¶ 410).
20   B. Multiplan is a Functional Fiduciary
21          While Multiplan offers one unpublished opinion granting summary judgment under the
22   unique set of undisputed facts at issue in that particular matter, the weight of authority holds that
23   entities like Multiplan who perform fiduciary functions in which they exert control or authority
24   over disposition of plan assets and/or administration of the plan, are ERISA fiduciaries. In RJ et
25   al. v. Cigna Health and Life Ins. Co., et al., 2021 WL 1110261, (N.D. Cal. 2022), a case
26   proceeding essentially in parallel with the instant action, involving the use of the Multiplan Viant
27   product at Cigna, the court found that Viant was operating as an ERISA fiduciary. The court
28   noted that a person is a fiduciary with respect to an ERISA plan under three different
                                                        -3-
                                                              Plaintiffs’ Opposition to Defendant MultiPlan Inc.’s
       Case No. 4:20-cv-02254-YGR-JCS                                    Administrative Motion to Redact and Seal
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 5 of 10



 1   circumstances:
 2                    to the extent (i) he exercises any discretionary authority or
                      discretionary control respecting management of such plan or
 3                    exercises any authority or control respecting management or
                      disposition of its assets, (ii) he renders investment advice for a fee
 4                    or other compensation, direct or indirect, with respect to any
                      moneys or other property of such plan, or has any authority or
 5                    responsibility to do so, or (iii) he has any discretionary authority or
                      discretionary responsibility in the administration of such plan.
 6

 7   29 USC § 1002(21)(A). Despite the fact that Viant was not a named fiduciary in any of the
 8   plans, the court nevertheless found that it exercised responsibility and authority over plan assets
 9   through its repricing tool.
10          Similarly, here, Multiplan had responsibility and authority over Plan assets by virtue of
11   repricing patient claims. In Monterey Peninsula Horticulture, Inc. v. Emp. Benefit Mgmt. Servs.
12   Inc. , the plaintiff asserted a similar theory of fiduciary liability (2020 WL 2747846 (N.D. Cal.
13   May 27, 2020)). The plaintiff there asserted that the defendant had authority and control over the
14   plan assets “by determining the amount and recipient of benefit payments,” issuing checks, and
15   paying approved claims. Id at 3. The Monterey Peninsula Horticulture court held that the
16   allegations plausibly suggested the defendant had control over disposition of plan assets, and
17   therefore denied defendant’s motion to dismiss the breach of fiduciary duty claim.
18          As Multiplan itself notes, the key inquiry in determining whether fiduciary status, and
19   consequentially, whether the fiduciary exception applies, revolves around the specific function
20   being performed. “A person’s actions determine whether he is a fiduciary, even if the plan
21   documents do not assign fiduciary duties to the person.” Del Prete v. Magellan Behavioral
22   Health, Inc., 112 F.Supp.3d 942 (2015) citing Parker v. Bain, 68 F.3d 1131, 1139 (9th Cir. 1996)
23   Here, there is no dispute that Multiplan, through the Viant product, repriced Plaintiff’s claims,
24   and those repriced amounts were used to generate EOBs and PAD letters, the latter of which
25   were mailed directly from Multiplan to patients. Patients were directed in those EOB and PAD
26   letters to contact Viant, not United, if they wished to dispute the allowable amount. Multiplan
27   thus had authority and control over plan assets. MPI argues that its authority and control was
28   allegedly not absolute because it was operating within parameters set by United. However, the
                                                         -4-
                                                               Plaintiffs’ Opposition to Defendant MultiPlan Inc.’s
       Case No. 4:20-cv-02254-YGR-JCS                                     Administrative Motion to Redact and Seal
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 6 of 10



 1   court in RJ noted “there is nothing in section 1002(21)(A) to suggest that a person or entity with
 2   limited control over plan assets cannot be considered a fiduciary.” RJ, supra, at *7.
 3          Similarly, in Josef K. v. California Physicians’ Service, 2019 WL 2342245 at 7 (N.D.
 4   Cal. YGR) in finding that a non-named fiduciary nevertheless had functional fiduciary status in
 5   an ERISA action, the court noted that “Congress commodiously imposed fiduciary standards on
 6   persons whose actions affect the amount of benefits retirement plan participants will receive…
 7   Thus, although fiduciary status does not attach to a party who ‘merely perform[s] ministerial
 8   duties or processes claims, a party may qualify as a fiduciary if it has the authority to grant, deny,
 9   or review denied claims.” (citations omitted). There, again, the court held that a person’s
10   authority or control over plan assets or administration need not be absolute in order to be found
11   to have fiduciary status. In Josef K., the court held that an independent medical review
12   organization that performed a medical necessity analysis of a health care claim and
13   recommended upholding the claim administrator’s denial decision – a recommendation that the
14   claim administrator could have rejected – was a functional fiduciary. The independent review
15   organization in Josef K. was not named in any plan documents, but nevertheless the court noted
16   that non-named fiduciaries falling within the definition of 29 U.S.C. § 1002(21)(A) are
17   sometimes referred to as “functional fiduciaries.” Josef K. citing Santomenno v. Transamerica
18   Life Ins. Co., 883 F.3d 833, 837 (9th Cir. 2018).
19          As the court in Josef K. observed that “[b]oth the U.S. Supreme Court and the Ninth
20   Circuit have suggested that fiduciary status under ERISA is to be construed liberally, consistent
21   with ERISA’s policies and objectives.” Id. citing John Hancock Mut. Life Ins. v. Harris Trust &
22   Sav. Bank, 510 U.S. 86, 96 (1993) and Credit Managers Ass’n v. Kenneaw Life & Accident Ins.
23   Co., 809 F.2d 617, 625 (9th Cir. 1987) (finding that 29 U.S.C. section 1002(21) sets forth a
24   “broad definition” of fiduciary).
25   C. The Fiduciary Exception Applies to Multiplan
26          The functions that Multiplan performed under the Plan, using the Viant repricing tool,
27   were fiduciary in nature. It exercised discretion and authority to generate allowable amounts on
28   out of network IOP claims using a database and methodologies known only to it, not United.
                                                         -5-
                                                               Plaintiffs’ Opposition to Defendant MultiPlan Inc.’s
       Case No. 4:20-cv-02254-YGR-JCS                                     Administrative Motion to Redact and Seal
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 7 of 10



 1   Plan participants and beneficiaries were directed to contact Viant, not United, if they wished to
 2   dispute the allowable amounts Viant generated. Thus, communications with counsel concerning
 3   those fiduciary functions, fall within the fiduciary exception. The fiduciary exception to the
 4   attorney-client privilege derives from the law of trusts. “When a trustee obtains legal advice
 5   relating to the exercise of fiduciary duties . . . [,] the trustee cannot withhold attorney-client
 6   communications from the beneficiary of the trust.” United Statees v. Jicarilla Apache Nation,
 7   564 U.S. 162, 165 (2011). The “exception is rooted in two distinct rationales.” United States v.
 8   Mett, 178 F.3d 1058, 1063 (9th Cir. 1999). Under one rationale, some courts have reasoned that
 9   “because the ERISA fiduciary is ‘a representative for the beneficiaries of the trust which he is
10   administering,’ it is not the fiduciary, but rather the plan beneficiary that is the ‘real client.” Mett,
11   178 F.3d at 1063. On this view, the fiduciary exception is not really an exception at all.
12   Attorney-client privilege is maintained; there is only a different understanding of the identity of
13   the client. Stephan v. Unum Life Ins. Co. of America, 697 F.3d 917, 931 (9th Cir. 2012) (citing
14   Mett).
15            Under the second rationale, “some courts have held that the exception derives from an
16   ERISA trustee’s duty to disclose to plan beneficiaries all information regarding plan
17   administration.” Mett, 178 F.3d at 1063. On this view, the attorney-client privilege is
18   subordinated to the fiduciary’s disclosure obligation. Id. This rationale is particularly compelling
19   in this case because the Viant pricing tool and methodology is known only to Multiplan and
20   Viant. United, the named fiduciary, does not control or even have knowledge of how the Viant
21   pricing tool functions, what data forms the basis of its calculations, how different HCPCS and
22   APC codes are “crosswalked” to generate allowable amounts for the facility-based IOP
23   substance use disorder claims specifically at issue herein. Thus, the only fiduciary capable of
24   fulfilling the “duty to disclose to plan beneficiaries all information regarding plan
25   administration” is Multiplan.
26            For these reasons, MultiPlan has been held to be a fiduciary many times in other
27   litigation. In an earlier ruling in In re Out-of-Network Substance Use Disorder Claims Against
28   UnitedHealthcare, the court found it sufficient that MultiPlan could ultimately be found to be a
                                                         -6-
                                                               Plaintiffs’ Opposition to Defendant MultiPlan Inc.’s
       Case No. 4:20-cv-02254-YGR-JCS                                     Administrative Motion to Redact and Seal
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 8 of 10



 1   fiduciary because “Plaintiffs assert that MultiPlan used a pricing database in determining the
 2   amounts of benefits owed that consisted of unrepresentative amounts charged and relied on
 3   methodologies different from those set forth in the plans” (2021 WL 8532067, at *5 (C.D. Cal.
 4   Apr. 14, 2021) citing ILWU-PMA Welfare Plan Bd. of Trustees v. Connecticut Gen. Life Ins. Co.,
 5   No. C 15-02965 WHA, 2015 WL 9300519, at *6 (N.D. Cal. Dec. 22, 2015); see also, TML
 6   Recovery, LLC v. Cigna Corp., 2021 WL 3730168, at *4 (C.D. Cal. July 26, 2021) (“This is
 7   enough, just like it was in ILWU-PMA, for the Court to conclude Multiplan is a fiduciary,
 8   making it a proper ERISA defendant.”)
 9   D. In re Grand Jury Remains Binding Precedent in the Ninth Circuit Regarding Dual-
10   Purpose Communications
11             Last, MultiPlan’s request that the Court stay its determination applying the ‘dual purpose’
12   test to attorney client privilege claims set forth in In re Grand Jury, 23 F.4th 1088 (9th Cir.
13   2021), cert. granted sub nom. In re Jury, No. 21-1397, 2022 WL 4651237 (U.S. Oct. 3, 2022)
14   pending the ultimate decision of the U.S. Supreme Court should be disregarded. As stated by a
15   sister court, “the fact that the Supreme Court recently granted certiorari [] has no effect on this
16   Court’s obligation to follow Ninth Circuit precedent unless and until the Supreme Court
17   overrules it.” U.S.A. v. Shumilo, 2016 WL 6302524, at *2 (C.D. Cal. Oct. 24, 2016) citing Hart
18   v. Massanari, 266 F.3d 1155, 1170 (9th Cir. 2001) (“Binding authority must be followed unless
19   and until overruled by a body competent to do so.”). As such, In re Grand Jury is binding
20   precedent and should be followed unless and until the U.S. Supreme Court overrules it.
21                                            III.CONCLUSION
22             Based on the foregoing, Plaintiffs respectfully request that the Court deny Defendant
23   Multiplan’s request to reevalaute the findings in its October 3, 2022 Order relating to Multiplan’s
24   assertions of privilege.
25   //
26   //
27   //
28   //
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                                                              Plaintiffs’ Opposition to Defendant MultiPlan Inc.’s
          Case No. 4:20-cv-02254-YGR-JCS                                 Administrative Motion to Redact and Seal
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 9 of 10



 1   Dated: November 10, 2022                   ARNALL GOLDEN GREGORY LLP
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                                                Plaintiffs’ Opposition to Defendant MultiPlan Inc.’s
      Case No. 4:20-cv-02254-YGR-JCS                       Administrative Motion to Redact and Seal
     Case 4:20-cv-02254-YGR Document 247 Filed 11/10/22 Page 10 of 10



 1                                      CERTIFICATE OF SERVICE
 2
            I, Aaron R. Modiano, hereby certify that on November 10, 2022, I electronically filed the
 3

 4   foregoing with the Clerk of the United States District Court for the Northern District of California

 5   using the CM/ECF system, which shall send electronic notification to all counsel of record.

 6                                                          /s/ Aaron R. Modiano
                                                            Aaron R. Modiano
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       Case No. 4:20-cv-02254-YGR-JCS                                  Administrative Motion to Redact and Seal
